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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEBRASKA


NOVO NORDISK A/S and NOVO NORDISK
INC.,
               Plaintiffs,                          Case No. 4:25-03091

       v.
BARE BODY SHOP FRANCHISING,
LLC,
               Defendant.


                                         COMPLAINT

       Plaintiffs Novo Nordisk A/S (“NNAS”) and Novo Nordisk Inc. (“NNI”) (collectively,

“Plaintiffs” or “Novo Nordisk”) file their complaint against Bare Body Shop Franchising, LLC

(“Defendant”) for trademark infringement, false advertising, and unfair competition and seek

injunctive, monetary, and other relief. Plaintiffs allege as follows on actual knowledge with

respect to themselves and their own acts and on information and belief as to all other matters.

                                       INTRODUCTION

       1.      Novo Nordisk is a healthcare company with a 100-year history of innovation in

developing medicines to treat serious chronic diseases like diabetes and obesity.

       2.      The development of semaglutide is an example of Novo Nordisk’s commitment to

innovation for people living with chronic diseases. Semaglutide is the foundational molecule

that serves as the primary ingredient for Novo Nordisk’s three prescription-only medicines

approved by the Food and Drug Administration (“FDA”): Ozempic® (semaglutide) injection and

Rybelsus® (semaglutide) tablets for adults with type 2 diabetes and Wegovy ® (semaglutide)

injection for chronic weight management.




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        3.     Novo Nordisk is the only company in the United States with FDA-approved

medicines containing semaglutide.

        4.     Novo Nordisk is also the only company authorized to identify its FDA-approved

semaglutide medicines using the trademarks Ozempic ®, Wegovy®, and Rybelsus®.

        5.     The FDA has not approved any generic versions of semaglutide medicines. To

the contrary, the FDA has sent warning letters to companies that have claimed that their

unapproved drug products have the “same active ingredient as Ozempic, Rybelsus, and

Wegovy,” noting that the Ozempic® and Wegovy® medicines are the only “two injectable

semaglutide products FDA‐approved for the U.S. market.” 1

        6.     This is an action brought pursuant to the Lanham Act, 15 U.S.C. §§ 1051 et seq.,

related state laws, and the common law arising out of Defendant’s infringement of Plaintiffs’ rights

in their Ozempic® and Wegovy® marks and Defendant’s acts of false advertising and unfair

competition.

        7.     Defendant uses Novo Nordisk’s Ozempic® and Wegovy® marks to market and

sell to patients compounded drug products that purport to contain semaglutide.

        8.     Even though such compounded drug products have not been evaluated by the

FDA for their safety, effectiveness, or quality, Defendant falsely and misleadingly represents to

patients that its products are FDA-approved or the same as, or equivalent to, Novo Nordisk’s

FDA-approved semaglutide medicines.




1
  FDA – Warning Letter to Ozempen.com, MARCS-CMS 684435 — JUNE 24, 2024,
https://www.fda.gov/inspections-compliance-enforcement-and-criminal-investigations/warning-
letters/ozempencom-684435-
06242024#:~:text=WARNING%20LETTER&text=As%20discussed%20below%2C%20FDA%
20has,new%20drugs%20and%20misbranded%20drugs.


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        9.       Defendant’s conduct is likely to confuse and deceive patients into mistakenly

believing that they are purchasing authentic Novo Nordisk medicines or medicines that have

been evaluated by the FDA, studied in clinical trials, and deemed safe and effective.

                                          THE PARTIES

        10.      Plaintiff NNAS is a corporation organized and existing under the laws of the

Kingdom of Denmark and has its principal place of business in Bagsværd, Denmark.

        11.      Novo Nordisk developed the Ozempic® and Wegovy® medicines.

        12.      NNAS has granted to NNI exclusive rights to market, advertise, promote, offer for

sale, and sell Ozempic® and Wegovy® medicines in the United States.

        13.      NNI is a corporation organized and existing under the laws of Delaware and has

its principal place of business in Plainsboro, New Jersey.

        14.      NNI promotes, offers, and sells Novo Nordisk’s Ozempic ® and Wegovy®

medicines throughout the United States, including in this District.

        15.      Defendant Bare Body Shop Franchising, LLC is a limited liability company with

a registered business address at 10811 Prairie Brook Road, Omaha, Nebraska 68144, in this

judicial district.

        16.      Defendant sells and promotes compounded drug products that purport to contain

semaglutide, but that have not been approved by the FDA (“Unapproved Compounded Drugs”).

        17.      Defendant falsely claims or otherwise misleadingly suggests that its Unapproved

Compounded Drugs are the same as or equivalent to the Ozempic ® and Wegovy® medicines.

                                 JURISDICTION AND VENUE

        18.      The Court has subject matter jurisdiction over the Lanham Act causes of action

pleaded herein pursuant to 35 U.S.C. § 1121 and 28 U.S.C. §§ 1331, 1338(a).




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        19.    The Court has supplemental jurisdiction over the state and common law causes of

action pleaded herein pursuant to 28 U.S.C. § 1338(b).

        20.    Defendant is subject to personal jurisdiction in this District because Defendant is

a Nebraska-registered company and has a principal place of business in Nebraska.

        21.    Venue is proper in this District pursuant to 28 U.S.C. § 1391 because Defendant

operates in this District, manufactures and sells its compounded drug products that purport to

contain semaglutide in this District, and otherwise conducts business in this District.

            NOVO NORDISK’S FDA-APPROVED SEMAGLUTIDE MEDICINES
                  AND OZEMPIC® AND WEGOVY® TRADEMARKS

        22.    Plaintiffs use the trademarks “Ozempic” and “Wegovy” to identify and promote

the FDA-approved Ozempic® and Wegovy® medicines. The Ozempic® and Wegovy® medicines

are sold and marketed in the United States by NNAS’s indirect, wholly-owned subsidiary, NNI.

        23.    The Ozempic® medicine is indicated for adults with type 2 diabetes to improve

blood sugar (glucose), along with diet and exercise. The Ozempic ® medicine also lowers the risk

of major cardiovascular events such as stroke, heart attack, or death in adults with type 2 diabetes

and known heart disease, as well as the risk of kidney disease worsening, kidney failure (end-

stage kidney disease) and death from cardiovascular disease in adults with type 2 diabetes and

chronic kidney disease.

        24.    The Wegovy® medicine is indicated to reduce excess body weight and maintain

weight reduction long term in adults and children aged ≥ 12 years with obesity, and some adults

with weight-related medical problems, along with a reduced calorie diet and increased physical

activity.

        25.    The Wegovy® medicine is also indicated, with a reduced calorie diet and

increased physical activity, to reduce the risk of major adverse cardiovascular events such as



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“cardiovascular” death, heart attack, or stroke in adults with known heart disease and who are

either obese or overweight.

       26.     The Ozempic® and Wegovy® medicines have been studied in clinical trials and are

FDA-approved.

       27.     Both the Ozempic® and Wegovy® medicines have unique safety and efficacy

profiles which are set forth in their respective product labels.

       28.     The Ozempic® and Wegovy® medicines are prescription-only medicines that

should be prescribed only in direct consultation with, and under the supervision of, a licensed

healthcare professional.

       29.     Novo Nordisk first adopted and used the Ozempic ® mark at least as early as 2017

and has used it continuously since that time.

       30.     The Ozempic® trademark is inherently distinctive.

       31.     Novo Nordisk has promoted, advertised, and marketed its prescription-only

medicine using the Ozempic® mark in different channels, directed to physicians, other health

care professionals, and patients, including on the websites ozempic.com and novonordisk-

us.com.

       32.     As a result of its use of the Ozempic® mark, NNAS owns valuable common law

rights in and to the Ozempic® mark.

       33.     Plaintiff NNAS owns U.S. trademark registration number 4,774,881, issued on

July 21, 2015, for the mark Ozempic® for pharmaceutical preparations, in International Class 5.

A true and correct copy of Plaintiff NNAS’s registration for the Ozempic ® mark is attached

hereto as Exhibit A.

       34.     Novo Nordisk’s right to use its registered Ozempic® mark is incontestable.




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       35.     Novo Nordisk first adopted and used the Wegovy ® mark at least as early as 2021

and has used it continuously since that time.

       36.     The Wegovy® trademark is inherently distinctive.

       37.     Novo Nordisk has promoted, advertised, and marketed its prescription-only

medicine using the Wegovy® mark in different channels, directed to physicians, other health care

professionals, and patients, including on the websites wegovy.com and novonordisk-us.com.

       38.     As a result of its use of the Wegovy® mark, NNAS owns valuable common law

rights in and to the Wegovy® mark.

       39.     Plaintiff NNAS owns (a) U.S. trademark registration number 6,585,492, issued on

December 14, 2021, for the mark Wegovy® for pharmaceutical preparations, in International

Class 5; and (b) U.S. trademark registration number 6,763,029, issued on June 21, 2022, for the

mark Wegovy® in a stylized form for pharmaceutical preparations, in International Class 5. True

and correct copies of Plaintiff’s registrations numbers 6,585,492 and 6,763,029 for the Wegovy ®

mark are attached hereto as Exhibit B and Exhibit C, respectively.

       40.     As a result of Novo Nordisk’s long use, promotion, and advertising of the

Ozempic® and Wegovy® trademarks and medicines, the Ozempic® and Wegovy® marks are

exclusively associated with Plaintiffs, serve to identify genuine Novo Nordisk medicines, and are

valuable assets of Novo Nordisk.

       41.     As a result of Novo Nordisk’s long use, promotion, and advertising of the

Ozempic® and Wegovy® trademarks and medicines, the Ozempic® and Wegovy® trademarks are

well-known, strong, and famous marks, and became such before any of the acts of Defendant

complained of herein.




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              DEFENDANT’S SALE OF UNAPPROVED COMPOUNDED DRUGS

        42.     Novo Nordisk does not sell its FDA-approved semaglutide medicines, Ozempic ®

and Wegovy®, to Defendant for resale or redistribution.

        43.     Instead, Defendant markets and sells to patients Unapproved Compounded Drugs

that purport to contain semaglutide.

        44.     The FDA has not approved Defendant’s Unapproved Compounded Drugs.

        45.     On information and belief, the Unapproved Compounded Drugs sold by

Defendant are made by compounding pharmacies, which deliver them either directly to patients

or to Defendant for administration or dispensing to patients.

        46.     The FDA defines compounding as a “practice in which a licensed pharmacist, a

licensed physician, or, in the case of an outsourcing facility, a person under the supervision of a

licensed pharmacist, combines, mixes, or alters ingredients of a drug to create a medication

tailored to the needs of an individual patient.”2

        47.     According to the FDA, “[c]ompounded drugs are not FDA-approved. This means

that FDA does not review these drugs to evaluate their safety, effectiveness, or quality before

they reach patients.”3

        48.     The FDA has further stated that compounded drugs “do not have the same safety,

quality, and effectiveness assurances as approved drugs. Unnecessary use of compounded drugs

unnecessarily exposes patients to potentially serious health risks.” 4




2
  Human Drug Compounding, https://www.fda.gov/drugs/guidance-compliance-regulatory-
information/human-drug-compounding.
3
  Compounding Laws and Policies, https://www.fda.gov/drugs/human-drug-
compounding/compounding-laws-and-policies.
4
  Compounding and the FDA: Questions and Answers, https://www.fda.gov/drugs/human-drug-
compounding/compounding-and-fda-questions-and-answers.


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        49.    As the FDA has explained, “[c]ompounded drugs pose a higher risk to patients

than FDA-approved drugs because compounded drugs do not undergo FDA premarket review

for safety, quality or effectiveness. Compounded drugs should only be used for patients whose

medical needs cannot be met by an available FDA-approved drug.” 5

        50.    The process used to produce most “semaglutide” used in compounding is

fundamentally different from the process used to produce the semaglutide in Novo Nordisk’s

FDA-approved medicines. Novo Nordisk manufactures the semaglutide in its medicines,

pursuant to its FDA approval, in yeast cells under a closely controlled multistep process that uses

recombinant DNA technology. Most compounded “semaglutide,” however, uses a

“semaglutide” manufactured via chemical synthesis.

        51.    The chemical synthesis process, which is not used for the semaglutide in any

FDA-approved semaglutide medicines, has resulted in new impurities, higher levels of known

impurities, immunogenicity concerns, and potential stability issues in tested samples of

compounded “semaglutide.”6

        52.    The FDA has received reports of adverse events, some requiring hospitalization,

related to overdoses from dosing errors associated with compounded “semaglutide” products. 7




5
  FDA Alerts Health Care Providers, Compounders and Patients of Dosing Errors Associated
with Compounded Injectable Semaglutide Products, https://www.fda.gov/drugs/human-drug-
compounding/fda-alerts-health-care-providers-compounders-and-patients-dosing-errors-
associated-compounded?utm_medium=email&utm_source=govdelivery.
6
  Morten Hach et al, Impact of Manufacturing Process and Compounding on Properties and
Quality of Follow-On GLP-1 Polypeptide Drugs, Pharm. Res., (Oct. 8, 2024), available at
https://pubmed.ncbi.nlm.nih.gov/39379664/.
7
  FDA Alerts Health Care Providers, Compounders and Patients of Dosing Errors Associated
with Compounded Injectable Semaglutide Products, https://www.fda.gov/drugs/human-drug-
compounding/fda-alerts-health-care-providers-compounders-and-patients-dosing-errors-
associated-compounded.


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In several instances, patients mistakenly administered five to 20 times more than the intended

dose of compounded “semaglutide.”

        53.    The FDA has stated that the containers and packaging (including multidose vials

and prefilled syringes) used by compounders, the varying product concentrations, and the

instructions accompanying the compounded drug contribute to the potential medical errors.

        54.    A publication from the Journal of the American Pharmacists Association also

highlighted errors where patients accidentally self-administered doses of compounded

“semaglutide” up to ten times greater than the intended amount. 8

        55.    The FDA has issued guidance on its “Concerns with Unapproved GLP-1 Drugs

Used for Weight Loss,” which provides that: (1) “compounded drugs are not FDA-approved”;

(2) use of compounded drugs containing “semaglutide” “can be risky for patients, as unapproved

versions do not undergo FDA’s review for safety, effectiveness and quality”; and (3) “FDA has

received reports of adverse events related to compounded versions of semaglutide . . . .

However, federal law does not require state-licensed pharmacies that are not outsourcing

facilities to submit adverse events to FDA so it is likely that adverse events from compounded

versions of these drugs are underreported.” 9

           DEFENDANT’S TRADEMARK INFRINGEMENT AND FALSE
        ADVERTISING IN CONNECTION WITH ITS SALE OF UNAPPROVED
                          COMPOUNDED DRUGS

        56.    Despite the foregoing, and after NNAS’s first use and registration of its Ozempic ®

and Wegovy® marks, Defendant has used Novo Nordisk’s Ozempic® and Wegovy® trademarks


8
  Joseph E. Lambson et al, Administration Errors of Compounded Semaglutide Reported to a
Poison Control Center—Case Series, 63 J. Am. Pharmacists Assc’n 5 (2023), available at
https://www.japha.org/article/S1544-3191(23)00231-5/abstract.
9
  FDA’s Concerns with Unapproved GLP-1 Drugs Used for Weight Loss,
https://www.fda.gov/drugs/postmarket-drug-safety-information-patients-and-providers/fdas-
concerns-unapproved-glp-1-drugs-used-weight-loss.


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to market and sell Unapproved Compounded Drugs purporting to contain “semaglutide” that are

not the Ozempic® and Wegovy® medicines, and has made false and misleading representations

to patients regarding the nature of its Unapproved Compounded Drugs.

          57.   Defendant has falsely advertised its Unapproved Compounded Drugs by making

statements that describe the Ozempic® and Wegovy® medicines but that are false or misleading

when in reference to Defendant’s Unapproved Compounded Drugs.

          58.   Defendant’s trademark infringement, unfair competition, false advertising, and

deceptive trade practices are discussed in the paragraphs that follow and reflected in Exhibit D

hereto.

          59.   Defendant has engaged in the unlawful promotion of its Unapproved

Compounded Drugs on its website and elsewhere in connection with its operation of a medical

spa.

          60.   Defendant has falsely claimed or implied that its Unapproved Compounded

Drugs, or the “semaglutide” therein, have been approved by the FDA or have been reviewed by

the FDA for safety, effectiveness, and quality. On its website, Defendant incorrectly claims that

“[b]oth Semaglutide GLP-1 (Ozempic and Wegovy) and Tirzepatide (Mounjaro) were originally

approved for use in treating type 2 diabetes but were quickly realized to provide very effective

weight loss results in patients who are obese or overweight with weight-related health

conditions” and “[a]dditionally, various types of Semaglutide GLP-1 are FDA-approved for

managing medical weight loss.”




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       61.     Contrary to Defendant’s representations, the FDA has not approved a

“semaglutide” peptide generally. Instead, the FDA has approved three of Novo Nordisk’s

complete medicines, which contain semaglutide for the specific indications outlined in the

preceding paragraphs.

       62.     Defendant’s false representations mislead consumers into believing, incorrectly,

that the product with “semaglutide” offered by Defendant has been reviewed and approved by

the FDA for safety and effectiveness.

       63.     Also, Defendant has falsely claimed or implied that its Unapproved Compounded

Drugs have been subjected to clinical studies and trials, or have otherwise achieved therapeutic

outcomes attributable to the Wegovy®, Ozempic®, and Rybelsus® medicines. On its website,

Defendant claims, incorrectly, that “[t]he effectiveness of injectable Semaglutide GLP-1 for

weight loss was tested in a clinical trial” and “[m]ore than half of those taking Semaglutide GLP-

1 reduced their body weight by at least 15 percent during a clinical trial.”




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       64.    On information and belief, Defendant has not conducted any placebo-controlled

or clinical studies on its Unapproved Compounded Drugs and is instead falsely referring to

studies of Novo Nordisk’s FDA-approved medicines to promote Defendant’s Unapproved

Compounded Drugs.

       65.    Moreover, Defendant has falsely claimed or implied that its Unapproved

Compounded Drugs contain the same semaglutide that the FDA evaluated in the context of

reviewing and approving Novo Nordisk’s new drug applications for the Ozempic ® and Wegovy®

medicines. On its website, Defendant falsely identifies its Unapproved Compounded Drugs as

“Semaglutide (Ozempic, Wegovy)” and claims, incorrectly, that “Ozempic is a brand name for

the drug Semaglutide GLP-1.” Defendant makes similar claims throughout its website.




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       66.    Defendant’s representations characterizing Ozempic® and Wegovy® as a “brand”

or “brand name” as well as referring to semaglutide as “Ozempic, Wegovy” in a parenthesis is

misleading and falsely conveys to customers that other “semaglutide” medicines have been

reviewed or approved by the FDA or are the equivalent of Novo Nordisk’s medicines.


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         67.   Similarly, Defendant’s representations that its Unapproved Compounded Drugs

have the “same ingredient” as Novo Nordisk medicines is false.

         68.   Novo Nordisk is not directly or indirectly supplying semaglutide to Defendant or

any compounding pharmacies from which they may be sourcing their Unapproved Compounded

Drugs.

         69.   The FDA has not reviewed the “semaglutide” allegedly in Defendant’s

Unapproved Compounded Drugs for safety, effectiveness, or quality, or otherwise as equivalent

in safety, effectiveness, or quality to, Novo Nordisk medicines.

         70.   The chemical synthesis process used to produce most “semaglutide” used in

compounding is fundamentally different from the process used to produce the semaglutide in

Novo Nordisk’s FDA-approved medicines, resulting in the issues described above.

         71.   Defendant has no basis to compare the “semaglutide” allegedly in its Unapproved

Compounded Drugs to Novo Nordisk’s FDA-approved medication containing semaglutide.

         72.   Finally, Defendant has falsely claimed or implied that it sells authentic Novo

Nordisk medicines. On its website, Defendant falsely claims that “[a]t Bare Body Shop in

Omaha, NE, we provide Ozempic shots as a highly effective solution for weight loss” and

prominently displays images of Novo Nordisk’s marks and medicines. Defendant makes similar

claims throughout its website.




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       73.     In reality, Defendant instead regularly prescribes its Unapproved Compounded

Drugs to patients interested in the Ozempic® and Wegovy® medicines.

       74.     On information and belief, Defendant has engaged in these unlawful practices to

attract customers and generate revenues and profits, including by passing off its Unapproved

Compounded Drugs purporting to contain “semaglutide” as the Ozempic ® and Wegovy®

medicines.

       75.     Defendant’s prominent and misleading use of the Ozempic® and Wegovy® marks

is likely to cause patients to believe, incorrectly, that they are purchasing genuine Ozempic ® and

Wegovy® medicines; that Defendant is a source for Novo Nordisk’s FDA-approved semaglutide




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medicines; and that Defendant’s services are provided, licensed, sponsored, authorized, or

approved by Novo Nordisk.

       76.     Defendant’s use of the Ozempic® and Wegovy® marks is without the permission,

consent, or authorization of Novo Nordisk. Defendant has no right to use, and Defendant knows

that it has no right to use, the Ozempic® and Wegovy® marks in connection with Defendant’s

Unapproved Compounded Drugs or otherwise.

       77.     Novo Nordisk has no control over the nature, quality, or efficacy of the products

sold by Defendant, including the Unapproved Compounded Drugs.

       78.     Defendant’s labels, advertising, and promotional materials are false and

misleading, suggesting or stating an association with Plaintiffs’ FDA-approved Ozempic ® and

Wegovy® medicines when no such association exists.

       79.     There is no need for Defendant to use the Ozempic® and Wegovy® trademarks to

advertise or promote its Unapproved Compounded Drugs purporting to contain “semaglutide,”

other than to trade on the reputation of Plaintiffs and to create confusion in the marketplace or

mislead the public regarding the origin, identity, or source of Defendant’s Unapproved

Compounded Drugs.

       80.     Defendant’s unauthorized use of the Ozempic® and Wegovy® trademarks is likely

to have already caused confusion, mistake, and deception, and infringes Plaintiffs’ established

exclusive rights in those trademarks.

       81.     Defendant’s false and misleading marketing is also likely to expose patients to

unnecessary risks. Patients who mistakenly believe Defendant to be offering Novo Nordisk’s

FDA-approved medicines, or equivalent thereto, are unlikely to understand the unique risks




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associated with, or the lack of clinical trials or testing establishing the safety and effectiveness

of, Defendant’s Unapproved Compounded Drugs. 10

          82.   On information and belief, unless enjoined by this Court, Defendant will continue

to use the Ozempic® and Wegovy® marks and otherwise falsely advertise its products as

associated with or being the Ozempic® and Wegovy® medicines, all in violation of Plaintiffs’

rights.

          83.   On information and belief, unless enjoined by this Court, Defendant’s

unauthorized use of the Ozempic® and Wegovy® trademarks will continue to cause confusion,

mistake, and deception, and infringe Plaintiffs’ established exclusive rights in those trademarks.

                                   FIRST CAUSE OF ACTION

                 Trademark Infringement in Violation of 15 U.S.C. § 1114(1)

          84.   Plaintiff NNAS realleges and incorporates each of the allegations in the preceding

paragraphs of this Complaint as though fully set forth here.

          85.   Plaintiff NNAS’s Ozempic® and Wegovy® marks are inherently distinctive,

strong, valid, and protectable trademarks owned by Plaintiff NNAS.

          86.   Plaintiff NNAS’s right to use its Ozempic® mark is incontestable and therefore

constitutes conclusive evidence of the validity of the mark, of Plaintiff NNAS’s registration and




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   See, e.g., Dozens Say They Lost Eyesight After Routine Surgery Using Compounded
Pharmacy Drugs, WFAA, https://www.wfaa.com/article/news/do-not-publish-yet/287-5f002ed3-
e110-4063-9959-a2e5f54b5097 (reporting mistaken belief of patient taking a compounded drug
that “every pill you take, every shot you take is tested.”); FDA Alerts Health Care Providers,
Compounders and Patients of Dosing Errors Associated with Compounded Injectable
Semaglutide Products, https://www.fda.gov/drugs/human-drug-compounding/fda-alerts-health-
care-providers-compounders-and-patients-dosing-errors-associated-
compounded?utm_medium=email&utm_source=govdelivery (“Compounded drugs pose a higher
risk to patients than FDA-approved drugs because compounded drugs do not undergo FDA
premarket review for safety, quality or effectiveness.”).


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ownership of the mark, and of Plaintiff NNAS’s exclusive right to use the mark in commerce on

or in connection with the goods identified in the registration.

         87.   Plaintiff NNAS’s trademark registrations for its Wegovy® marks constitute prima

facie evidence of the validity of the marks, of Plaintiff NNAS’s registration and ownership of the

marks, and of Plaintiff NNAS’s exclusive right to use the mark in commerce on or in connection

with the goods identified in the registrations.

         88.   By virtue of its prior use and registration, Plaintiff NNAS has priority over

Defendant with respect to the use of the Ozempic ® and Wegovy® marks for pharmaceutical

preparations sold in the United States.

         89.   Defendant uses the Ozempic® and Wegovy® marks in connection with the sale,

advertising, and promotion of Unapproved Compounded Drugs purporting to contain

semaglutide.

         90.   Defendant’s use in commerce of the Ozempic® and Wegovy® marks is likely to

cause confusion, to cause mistake, or to deceive with respect to Plaintiff NNAS’s identical

marks.

         91.   The above-described acts of Defendant constitute infringement of registered

trademarks in violation of Section 32(1) of the Lanham Act, 15 U.S.C. § 1114(1), entitling

Plaintiff NNAS to relief.

         92.   Defendant has unfairly profited from its trademark infringement.

         93.   By reason of Defendant’s acts of trademark infringement, Plaintiff NNAS has

suffered damage to the goodwill associated with its marks.




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       94.      Defendant’s acts of trademark infringement have irreparably harmed and, if not

enjoined, will continue to irreparably harm Plaintiff NNAS, its federally registered trademarks

and the valuable goodwill associated with those trademarks.

       95.      Defendant’s acts of trademark infringement have irreparably harmed, and if not

enjoined, will continue to irreparably harm the interests of the public in being free from

confusion, mistake, and deception.

       96.      By reason of Defendant’s acts, Plaintiff NNAS’s remedies at law are not adequate

to compensate for the injuries inflicted by Defendant, entitling Plaintiff NNAS to preliminary

and permanent injunctive relief pursuant to 15 U.S.C. § 1116.

       97.      By reason of Defendant’s willful acts of trademark infringement, Plaintiff NNAS

is entitled to disgorgement of Defendant’s profits (enhanced at the Court’s discretion), treble

damages, and costs under 15 U.S.C. § 1117.

       98.      This is an exceptional case, making Plaintiff NNAS eligible for an award of

attorneys’ fees under 15 U.S.C. § 1117.

                                 SECOND CAUSE OF ACTION

      Trademark Infringement, False Designation of Origin, and Unfair Competition
                       in Violation of 15 U.S.C. § 1125(a)(1)(A)

       99.      Plaintiffs reallege and incorporate each of the allegations in the preceding

paragraphs of this Complaint as though fully set forth here.

       100.     Defendant uses the Ozempic® and Wegovy® marks in commerce in connection

with Defendant’s goods and services and in commercial advertising and promotion of its goods

and services.

       101.     Defendant uses the Ozempic® and Wegovy® marks in commerce in a manner that

is likely to cause confusion, or to cause mistake, or to deceive the relevant public into believing



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that Defendant’s goods or services are authorized, sponsored, approved by, or otherwise

affiliated with Plaintiffs, with Plaintiffs’ genuine Ozempic ® and Wegovy® medicines, and with

the Ozempic® and Wegovy® marks.

       102.    The above-described acts of Defendant constitute infringement of the Ozempic ®

and Wegovy® marks and use of false designations of origin in violation of Section 43(a)(1)(A) of

the Lanham Act, 15 U.S.C. § 1125(a)(1)(A), entitling Plaintiffs to relief.

       103.    Defendant has unfairly profited from the actions alleged.

       104.    By reason of the above-described acts of Defendant, Plaintiffs have suffered

damage to the goodwill associated with the Ozempic® and Wegovy® trademarks.

       105.    The above-described acts of Defendant have irreparably harmed and, if not

enjoined, will continue to irreparably harm Plaintiffs, the Ozempic ® and Wegovy® trademarks,

and the valuable goodwill associated with the trademarks.

       106.    The above-described acts of Defendant have irreparably harmed and, if not

enjoined, will continue to irreparably harm the interest of the public in being free from

confusion, mistake, and deception.

       107.    By reason of Defendant’s acts, Plaintiffs’ remedies at law are not adequate to

compensate for the injuries inflicted by Defendant, entitling Plaintiffs to preliminary and

permanent injunctive relief pursuant to 15 U.S.C. § 1116.

       108.    Because the above-described acts of Defendant are willful, Plaintiffs are entitled

to disgorgement of Defendant’s profits (enhanced at the Court’s discretion), treble damages, and

costs under 15 U.S.C. § 1117.

       109.    This is an exceptional case, making Plaintiffs eligible for an award of attorneys’

fees under 15 U.S.C. § 1117.




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                                 THIRD CAUSE OF ACTION

                Defendant’s False and Misleading Advertising and Promotion
                         in Violation of 15 U.S.C. § 1125(a)(1)(B)

       110.    Plaintiffs reallege and incorporate each of the allegations in the preceding

paragraphs of this Complaint as though fully set forth here.

       111.    Defendant’s practices, as described in this Complaint, constitute unfair

competition and false advertising in violation of Section 43(a)(1)(B) of the Lanham Act, 15

U.S.C. § 1125(a)(1)(B).

       112.    Defendant has violated the Lanham Act by using false or misleading descriptions

of fact and false or misleading representations of fact in its commercial advertising or promotion

that misrepresent the nature, characteristics, and qualities of Defendant’s business practices and

products, as set forth above.

       113.    Defendant has also engaged in other false or misleading advertising and

promotion intended to assure patients that Defendant’s practices are lawful. On information and

belief, Defendant provides patients who purchase Defendant’s Unapproved Compounded Drugs

(or whom Defendant is trying to persuade to purchase its drugs) information that makes several

false or misleading statements, including those described herein:

       114.    The above-described acts of Defendant, if not enjoined by this Court, are likely to

deceive members of the general public.

       115.    The above-described acts of Defendant have irreparably harmed and, if not

enjoined, will continue to irreparably harm Plaintiffs.

       116.    The above-described acts of Defendant have irreparably harmed and, if not

enjoined, will continue to irreparably harm the interest of the public in being free from

confusion, mistake, and deception.



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       117.    By reason of Defendant’s acts as alleged above, Plaintiffs have suffered and will

continue to suffer injuries, including injury to Plaintiffs’ business reputation.

       118.    Because Plaintiffs’ remedies at law are not adequate to compensate for all the

injuries inflicted by Defendant, Plaintiffs are entitled to preliminary and permanent injunctive

relief requiring Defendant to cease its false and misleading advertising and promotion and unfair

competitive practices.

       119.    Because the above-described acts of Defendant are willful, Plaintiffs are entitled

to disgorgement of Defendant’s profits (enhanced at the Court’s discretion), treble damages, and

costs under 15 U.S.C. § 1117.

       120.    This is an exceptional case, making Plaintiffs eligible for an award of attorneys’

fees under 15 U.S.C. § 1117.

                                 FOURTH CAUSE OF ACTION

                      Unfair Competition in Violation of the Common Law

       121.    Plaintiffs reallege and incorporate each of the allegations in the preceding

paragraphs of this Complaint as though fully set forth here.

       122.    The above-described acts of Defendant constitute common law unfair

competition.

       123.    The above-described acts of Defendant unfairly and wrongfully exploit Plaintiffs’

trademark, goodwill, and reputation.

       124.    By reason of the above-described acts of Defendant, Plaintiffs have suffered

damage to the goodwill associated with the Ozempic® and Wegovy® trademarks.

       125.    The above-described acts of Defendant have irreparably harmed and, if not

enjoined, will continue to irreparably harm Plaintiffs and the Ozempic ® and Wegovy®

trademarks.


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       126.    The above-described acts of Defendant have irreparably harmed and, if not

enjoined, will continue to irreparably harm the interest of the public in being free from

confusion, mistake, and deception.

       127.    By reason of Defendant’s acts, Plaintiffs’ remedies at law are not adequate to

compensate for the injuries inflicted by Defendant, entitling Plaintiffs to preliminary and

injunctive relief in addition to disgorgement of Defendant’s profits (enhanced at the Court’s

discretion) and corrective advertising costs.

                                   FIFTH CAUSE OF ACTION

                         Deceptive Practices in Violation of
     Nebraska Uniform Deceptive Trade Practices Act, Neb. Rev. Stat. § 87-301 et seq.

       128.    Plaintiffs reallege and incorporate each of the allegations in the preceding

paragraphs of this Complaint as though fully set forth here.

       129.    The above-described acts of Defendant constitute deceptive and unconscionable

acts or practices in violation of Nebraska law.

       130.    Defendant has passed off goods or services as those of another.

       131.    Defendant has caused likelihood of confusion or of misunderstanding as to the

source, sponsorship, approval, or certification of goods or services.

       132.    Defendant has caused likelihood of confusion or of misunderstanding as to

affiliation, connection, or association with, or certification by, another.

       133.    Defendant has represented that goods or services have sponsorship, approval,

characteristics, ingredients, uses, benefits, or quantities that they do not have.

       134.    Defendant has misrepresented that goods or services are of a particular standard,

quality, or grade.




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       135.    The above-described acts of Defendant have irreparably harmed and, if not

enjoined, will continue to irreparably harm the interest of the public in being free from

confusion, mistake, and deception.

       136.    On information and belief, Defendant has willfully engaged in these unlawful

trade practices knowing them to be deceptive.

                                     REQUEST FOR RELIEF

       WHEREFORE, Plaintiffs request judgment against Defendant as follows:

       1.      That the Court enter a judgment against Defendant that Defendant has:

            a. Infringed the rights of Plaintiff NNAS in its federally registered Ozempic ®

               and Wegovy® marks in violation of 15 U.S.C. § 1114(1);

            b. Infringed the rights of Plaintiffs in the Ozempic® and Wegovy® marks and

               engaged in unfair competition, in violation of 15 U.S.C. § 1125(a);

            c. Engaged in false and misleading advertising and promotion, in violation of

               15 U.S.C. § 1125(a);

            d. Engaged in unfair competition under the common law of Nebraska and violated the

               Nebraska Uniform Deceptive Trade Practices Act.

       2.      That the Court declare that each of the above acts was willful.

       3.      That the Court preliminarily and permanently enjoin and restrain Defendant and its

agents, servants, employees, successors, and assigns, and all other persons acting in concert with

or in conspiracy with or affiliated with Defendant, from:

            a. using the Ozempic® and Wegovy® marks, including (i) use in any manner likely

               to cause confusion or mistake, to deceive, or otherwise infringe Novo Nordisk’s

               rights in those marks, or (ii) use in connection with the advertising, marketing,

               sale, or promotion of any Unapproved Compounded Drugs; and,


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       b. advertising, stating, or suggesting that any Unapproved Compounded Drugs,

          including any Unapproved Compounded Drugs that either are available, directly

          or indirectly, from or through Defendant or the use of which or access to which is

          facilitated by, or with the involvement of, Defendant:

              i. are, or contain, genuine or authentic Novo Nordisk Ozempic®, Wegovy®,

                 or Rybelsus® medicines;

             ii. are sponsored by or associated with Novo Nordisk;

             iii. are approved by the FDA; have been reviewed by the FDA for safety,

                 effectiveness, or quality; or have been demonstrated to the FDA to be safe

                 or effective for their intended use;

             iv. achieve or have been shown or proven to achieve therapeutic results,

                 effects, or outcomes, including but not limited to by relying on or making

                 reference to clinical trial results for Novo Nordisk’s medicines;

              v. achieve or have been shown or proven to achieve therapeutic results,

                 effects, or outcomes similar or identical to Novo Nordisk’s medicines or

                 are interchangeable with or equivalent to genuine Novo Nordisk

                 medicines;

             vi. are associated or connected in any way with Novo Nordisk or Novo

                 Nordisk’s medicines; or

            vii. contain any ingredient (including semaglutide) that is supplied by Novo

                 Nordisk, is approved by the FDA, or is the same as any ingredient in any

                 Novo Nordisk medicine.




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            c. engaging in unfair and deceptive trade practices with respect to Novo Nordisk’s

               Ozempic®, Wegovy®, or Rybelsus® medicines; and

            d. engaging in deceptive acts or practices with respect to Novo Nordisk’s Ozempic ®,

               Wegovy®, or Rybelsus® medicines.

       4.      That the Court require Defendant to disclose conspicuously and prominently in

any public-facing materials for any Unapproved Compounded Drugs, including all advertising,

marketing, and promotional materials, that: (a) the Unapproved Compounded Drugs are

compounded drugs that have not been approved by the FDA; have not been reviewed by the

FDA for safety, effectiveness, or quality; and have not been demonstrated to the FDA to be safe

or effective for their intended use; (b) the processes by which the compounded drugs are

manufactured have not been reviewed by the FDA; and (c) FDA-approved medicines containing

semaglutide are available.

       5.      That the Court award Plaintiffs monetary relief in the form of disgorgement of

Defendant’s profits for Defendant’s trademark infringement, false advertising and unfair and

deceptive trade practices with respect to Novo Nordisk’s Ozempic ® and Wegovy® medicines and

that this monetary relief be trebled due to Defendant’s willfulness, in accordance with 15 U.S.C.

§ 1117 and any applicable state laws.

       6.      That the Court order Defendant to account for and disgorge to Plaintiffs all

amounts by which Defendant has been unjustly enriched by reason of Defendant’s unlawful

actions with respect to Novo Nordisk’s Ozempic ® and Wegovy® medicines.

       7.      That the Court award Plaintiffs pre-judgment and post-judgment interest on all

damages.




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          8.     That the Court award Plaintiffs their reasonable attorneys’ fees pursuant to 15

U.S.C. § 1117, Neb. Rev. Stat. § 87-303, and any other applicable provision of law.

          9.     That the Court award Plaintiffs the costs of suit incurred herein.

          10.    That the Court award such other or further relief as the Court may deem just and

proper.



April 10, 2025                                   Respectfully submitted,

                                                 By:   /s/ Mary Ann Novak

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                                                       NOVO NORDISK INC.




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